                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                    : No. 1:23-bk-00988-HWV
   UPTOWN PARTNERS, LP                    :
                                          :   Chapter 7
                      Debtor              :

                             CERTIFICATE OF SERVICE

       I, Jacob Laughman, paralegal with the law firm of Cunningham, Chernicoff &
Warshawsky, P.C. hereby certify that on September 4, 2024, a true and correct copy of the
attached MOTION TO CONTINUE FINAL SALE HEARING AND HEARING ON
MOTION TO APPROVE AUCTION PURCHASER was served via electronic means
through the Court’s ECF filing system and/or by first- class mail, postage prepaid, unless
otherwise noted, as follows:

Office of the United States Trustee        Bureau of Employer Tax Operations
1501 North 6th Street                      Labor & Industry Building
Harrisburg, PA 17102                       651 Boas Street
                                           Harrisburg, PA 17106-8568
Internal Revenue Service
Centralized Insolvency Operation           U.S. Department of Justice
P.O. Box 7346                              P.O. Box 227
Philadelphia, PA 19101-7346                Ben Franklin Station
                                           Washington, DC 20044
Office of Attorney General
Financial Enforcement Section              United States Attorney
Strawberry Square, 15th Floor              1501 North 6th Street
Fourth & Walnut Streets                    Harrisburg, PA 17102
Harrisburg, PA 17120
                                           Barry A. Solodky, Esquire
Assistant U.S. Attorney                    Anthony J. Foschi, Esquire
P. O. Box 11754                            280 Granite Run Drive, Suite 300
Harrisburg, PA 17108-1754                  Lancaster, PA 17601

Securities Exchange Commission             Redevelopment Authority
100 Pearl Street, Suite 20-100             of the City of Harrisburg
New York, NY 10004-2616                    10 North Second Street, Unit 405
                                           Harrisburg, PA 17105
PA Department of Revenue
Bureau of Compliance                      Suzanne Conaboy Scanlon
Bankruptcy Division                       Assistant United States Attorney
P.O. Box 280946                           Middle District of Pennsylvania
Harrisburg, PA 17128-0946                 235 N. Washington Ave.
                                          PO Box 309
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Lauren A. Michaels, Esquire
Commonwealth of Pennsylvania       Bradford Dorrance, Esquire
Office of Attorney General         Keefer Wood Allen & Rahal, LLP
1251 Waterfront Place              417 Walnut Street, 3rd Floor
Mezzanine Level                    P.O. Box 11963
Pittsburgh, PA 15222               Harrisburg, PA 17108-1963

Clayton W. Davidson, Esquire       Capital Region Water
McNees Wallace & Nurick LLC        3003 North Front Street
100 Pine Street, PO Box 1166       Harrisburg, PA 17110
Harrisburg, PA 17108-1166
                                   City of Harrisburg
M Arielle M Acher, Esquire         10 North Second Street
Community Justice Project          Harrisburg, PA 17101
118 Locust Street
Harrisburg, PA 17101               Dauphin County Tax Claim Bureau
                                   2 South Second Street, #1
Marielle Macher, Esquire           Harrisburg, PA 17101
Community Justice Project
118 Locust Street                  Harrisburg Area School District
Harrisburg, PA 17101               1601 State Street
                                   Harrisburg, PA 17103



                                   /s/ Jacob Laughman
                                  Jacob Laughman




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